                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                 No.5:98-CR-85-3-BO


JERMAINE V. BETHEL,                           )
                                              )
                       Petitioner,            )
                                              )
               v.                             )               ORDER
                                              )
UNITED STATES OF AMERICA,                     )
                                              )
                       Respondent.            )
                                              )

       This matter is before the Court on Petitioner's Motion to Expunge Convictions from his

Criminal Record. For the reasons below, Petitioner's motion is DENIED.

                                         BACKGROUND

       On July 28, 1998, Defendant pled guilty, pursuant to a plea agreement, to Counts One and

Two of an Indictment charging him with Armed Bank Robbery and Aiding and Abetting in

violation of 18 U.S.C. §§ 2113(a)(d) and 2, and Use ofa Firearm During and in Relation to a

Crime of Violence and Aiding and Abetting in violation of Title 18, United States Code, §§

924(c)(I) and (2). Defendant was sentenced to sixty months imprisonment, five years supervised

release, and ordered to pay $22,493.36 in restitution joint and severally with his three

co-defendants, and a $200.00 special assessment. According to Government filings, the

restitution remains unpaid.

                                          DISCUSSION

       The power to expunge federal criminal convictions solely on equitable grounds is not

authorized by the Constitution or statute. United States v. Mitchell, 683 F.Supp.2d 427,429




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(E.D.Va. 2010). In Mitchell, the court denied a similar request of a defendant who had been

convicted of bank fraud. Id at 428. In its reasoning, the Court noted that federal courts are

courts of limited jurisdiction with specific jurisdictional requirements and limitations. Id

(citations omitted.). Where a court does not have jurisdiction over a matter, it may not rule on

the merits of a case. Id. (citations omitted). The only exception is if a court has ancillary

jurisdiction. The Supreme has held federal courts have ancillary jurisdiction in only two

situations: (i) "to permit disposition by a single court of claims that are, in varying respects and

degrees, factually interdependent"; and (ii) "to enable a court to function successfully, that is, to

manage its proceedings, vindicate its authority and effectuate its decrees." Kokkonen v.

Guardian Life Insurance Co. ofAmerica, 511 U.S. 375, 379-80 (1994). The Court does not have

jurisdiction under 18 U.S.C. §§ 2113(a)(d) and 2 because the act of entering judgment of

conviction in defendant's criminal case divests a district court of original jurisdiction over his

case. Mitchell, 683 F.Supp.2d at 432.

       In this case, ancillary jurisdiction is not proper because there is no factual

interdependency between the claim over which this Court had jurisdiction, namely defendant's

criminal conviction, and defendant's ancillary claim to expunge his record. Id. at 433. See

United States v. C%ian, 480 F.3d 47,52 (1st Cir. 2007). "The facts relating to defendant's

conviction are wholly separate and distinct from the equitable circumstances that defendant

contends justifY the expungement of his criminal conviction for bank fraud." Id Expungement

of Defendant's criminal record also would not facilitate the functioning of the federal court, "that

is to manage its proceedings, vindicate its authority, and effectuate its decrees." Kokkonen, 511

U.S. at 380. Therefore, this Court is without authority to expunge Petitioner's criminal record.

Petitioner's motion is DENIED.



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                               CONCLUSION

For the reasons above, Petitioner's Motion to Expunge is DENIED.

SO ORDERED.

This ~ day of August, 2010.




                                   TERRENCE W. BOYLE
                                   UNITED STATES DISTRICT JU




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